                IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         CHARLOTTE DIVISION
                            3:05CV427-V-02
                          (3:03CR36-01-McK)


WILLIAM JUNIOR JACOBS,    )
     Petitioner,          )
                          )
       v.                 )                  ORDER
                          )
UNITED STATES OF AMERICA, )
     Respondent.          )
__________________________)

     THIS MATTER comes before the Court on the petitioner’s

Motion to Vacate under 28 U.S.C. §2255, filed October 7, 2005.

After having carefully reviewed the petitioner’s Motion, the

record of the petitioner’s criminal case, and the relevant legal

precedent, the Court concludes, out of an abundance of caution,

that the petitioner’s Motion to Vacate should be granted, but

only for the purpose of allowing him to pursue a direct appeal of

the sentences from his underlying criminal case.

              I.   FACTUAL AND PROCEDURAL BACKGROUND

     According to the record, on August 26, 2003, the petitioner

(along with eight others) was named in a Superceding Bill of

Indictment which charged him with, inter alia, conspiracy to

possess with intent to distribute, and to distribute cocaine

powder and cocaine base, all in violation of 21 U.S.C. §841

(Count One); it charged him with using and carrying a firearm

during and in relation to a drug trafficking crime, in violation



    Case 3:03-cr-00036-FDW   Document 211   Filed 10/18/05   Page 1 of 8
of 18 U.S.C. §§924(c)(1) and 2 (Count Eleven); and it charged him

with being a convicted felon in possession of a firearm, in

violation of 18 U.S.C. §922(g)(1).

     On January 2, 2004, the petitioner entered into a written

Plea Agreement with the government, whereby he agreed to plead

guilty to these three charges.     Consequently, on April 8, 2004,

the petitioner appeared before the Court and tendered his guilty

pleas as contemplated by that Agreement.       Upon the conclusion of

that Plea & Rule 11 Proceeding, the Court conditionally accepted

the petitioner’s guilty pleas.

     On October 27, 2004, the government filed a Motion for a

Downward Departure.    Such Motion noted that the petitioner’s

adjusted Offense Level was 37, and his Criminal History Category

was VI, thereby exposing him to a term of 420 months to life

imprisonment.   However, based upon the petitioner’s cooperation,

the government asked the Court to depart down to Offense Level

33, resulting in a corresponding range of 235 to 293 months

imprisonment.   The government’s Motion ultimately recommended a

sentence of 240 months for the petitioner.

     On October 27, 2004, the Court held a Factual Basis &

Sentencing Hearing for the petitioner.       On that occasion, the

Court reviewed the record, the Pre-Sentence Report and other

pertinent matters.    The Court then granted the government’s

Motion for Downward Departure, and sentenced the petitioner to a

total term of 240 months imprisonment on all of his convictions.




    Case 3:03-cr-00036-FDW   Document 211   Filed 10/18/05   Page 2 of 8
The Court’s Judgment was filed on December 16, 2004.

     The petitioner did not appeal his convictions or sentences.

Rather, on October 7, 2005, the petitioner filed the instant

Motion to Vacate, alleging several matters, including that he was

subjected to ineffective assistance of counsel by virtue of his

attorney’s failure to honor his request for a direct appeal.

Having carefully considered this matter, the Court concludes, out

of an abundance of caution, that the petitioner’s Motion to

Vacate should be granted for the limited purpose of allowing him

to perfect a direct appeal.

                             II.   ANALYSIS

     Indeed, in United States v. Peak, 992 F.2d 39, 42 (4th Cir.

1993), the Fourth Circuit held that an attorney’s failure to file

an appeal, when requested by his client to do so, is per se

ineffective assistance of counsel-–irrespective of the merits of

the appeal.   See also Evitts v. Lucey, 469 U.S. 387, 391-05

(1985) (same); and United States v. Witherspoon, 231 F.3d 923

(4th Cir. 2000) (discussing when failure to consult with client

concerning whether to appeal constitutes ineffective assistance).

     In the instant case, the petitioner has alleged that at the

time that his sentences were announced, he asked his attorney to

file an appeal so that he could challenge his sentences (but not

his convictions).   However, the petitioner reports that his

attorney advised him that he “could not help” him file an appeal,

and he (the petitioner) could only obtain an appeal if he pursued




    Case 3:03-cr-00036-FDW   Document 211     Filed 10/18/05   Page 3 of 8
a claim of ineffective assistance against counsel.           Thus, even if

the government were to file an answer or other response which

attaches an affidavit in which counsel simply denies such

representations, the Court still would be compelled to give the

petitioner the benefit of the doubt on this matter.

     Accordingly, in light of Evitts and Peak, the Court con-

cludes that the petitioner’s Motion to Vacate should be granted.

That is, in cases such as this one, the prescribed remedy is to

vacate the original Judgment and enter a new Judgment from which

an appeal can be taken.      Thus, the Court will vacate its Judgment

so that the petitioner may appeal his conviction and/or sentence.

                 III.   NOTICE OF APPELLATE RIGHTS

     Mr. Jacobs, you are hereby advised that you have an absolute

right to appeal your criminal case and any issues in it to the

Fourth Circuit Court of Appeals.     If you decide to do that, you

will have to file a Notice of Appeal with the Clerk of this

District Court within 10 days after the day your new Judgment of

conviction is filed with this Court, or within 10 days after any

Government appeal is filed with this Court, whichever day comes

later.   The Clerk will assist you in preparing your Notice of

Appeal if you so request.

     If you previously were determined to be indigent in connec-

tion with your criminal case, or if you now are indigent and are

unable to pay for an appeal, you may request permission to

proceed on appeal without prepayment of the applicable filing




    Case 3:03-cr-00036-FDW   Document 211   Filed 10/18/05   Page 4 of 8
fees.     You should discuss the question of appeal with your

attorney, if you have one, but whatever he or she may tell you,

the responsibility for filing the Notice of Appeal remains with

you, and you must file such Notice within the aforementioned 10-

day period in order to make it effective.

                              IV.   ORDER

     NOW THEREFORE, IT IS HEREBY ORDERED:

     1.    That the petitioner’s Motion to Vacate is GRANTED, but

only for the purpose of allowing the petitioner to appeal his

sentences;

     2.    That the petitioner’s original Judgment is VACATED due

to counsel’s failure timely to file an appeal as requested by the

petitioner;

     3.    That the Clerk is directed to prepare a new Judgment

with the same sentences and conditions as indicated on the

original Judgment form;

     4.    That the petitioner may appeal from his new Judgment as

has been explained in this Order;

     5.    That if counsel for the government is aware that former

defense counsel has in his possession a document which affirma-

tively establishes that the petitioner advised counsel that he

did not want to appeal, or which otherwise conclusively rebuts

the petitioner’s allegation that counsel failed to file an appeal

as requested, counsel for the government may present such evi-

dence to the Court by way of an appropriate request for




    Case 3:03-cr-00036-FDW   Document 211   Filed 10/18/05   Page 5 of 8
reconsideration; and

     6.   That the Clerk shall send copies of this Order to the

petitioner and to the United States Attorney for the Western

District of North Carolina.

     SO ORDERED.




    Case 3:03-cr-00036-FDW   Document 211   Filed 10/18/05   Page 6 of 8
                  Signed: October 18, 2005




Case 3:03-cr-00036-FDW   Document 211   Filed 10/18/05   Page 7 of 8
Case 3:03-cr-00036-FDW   Document 211   Filed 10/18/05   Page 8 of 8
